                                     Case 2:10-cr-00633-SRC                                                                                                                            Document 193                                 Filed 05/16/12                                                   Page 1 of 1 PageID: 1465

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